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              1      COOLEY LLP
                     MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
              2      TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
                     KYLE C. WONG (224021) (kwong@cooley.com)
              3      JOSEPH D. MORNIN (307766) (jmornin@cooley.com)
                     101 California Street, 5th Floor
              4      San Francisco, CA 94111-5800
                     Telephone: (415) 693-2000
              5      Facsimile: (415) 693-2222

              6      DANIEL J. GROOMS (D.C. Bar No. 219124) (admitted pro hac vice)
                     (dgrooms@cooley.com)
              7      1299 Pennsylvania Avenue, NW, Suite 700
                     Washington, DC 20004-2400
              8      Telephone: (202) 842-7800
                     Facsimile: (202) 842-7899
              9
            10       Attorneys for Plaintiffs
                     WHATSAPP INC. and FACEBOOK, INC.
            11

            12                                     UNITED STATES DISTRICT COURT

            13                                 NORTHERN DISTRICT OF CALIFORNIA

            14

            15       WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
                     and FACEBOOK, INC., a Delaware
            16       corporation,                                 DECLARATION OF KYLE C. WONG IN
                                                                  SUPPORT OF JOINT STIPULATION TO
            17                                                    ENLARGE TIME PURSUANT TO L.R. 6-
                                     Plaintiffs,                  1(B) & 6-2
            18
                           v.                                     Date:      April 9, 2020
            19                                                    Judge:     Hon. Phyllis J. Hamilton
                     NSO GROUP TECHNOLOGIES LIMITED
            20       and Q CYBER TECHNOLOGIES LIMITED,

            21                       Defendants.

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  COOLEY LLP
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 SAN FRA NCI S CO                                                           WONG DECL. ISO STIP. TO ENLARGE TIME
                                                                                     CASE NO. 4:19-CV-07123-PJH
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              1              I, Kyle C. Wong, declare:

              2              1.      I am a Special Counsel at the law firm of Cooley LLP and counsel for plaintiffs

              3      WhatsApp Inc. and Facebook, Inc. (“Plaintiffs”) in this matter. The information in this declaration is

              4      based on my personal knowledge of this matter and information I obtained following a reasonable

              5      investigation of the events described below. If called as a witness, I could competently testify to the

              6      truth of each statement.

              7              2.      On April 6, 2020, I, along with a colleague, reached out to Aaron Craig and Joseph

              8      Akrotirianakis at King & Spalding LLP, who are counsel for defendants NSO Group Technologies

              9      Ltd. and Q Cyber Technologies Ltd. (“Defendants”), via telephone to discuss a stipulation to enlarge

            10       the time for briefing Plaintiffs’ opposition to Defendants’ motion to dismiss the complaint by two

            11       weeks. During that call, counsel for Defendants indicated that they needed to discuss the possible

            12       extension with their clients and that they would revert back when they had an answer.

            13               3.      On April 8, 2020, the parties agreed to modify the schedule as follows, subject to Court

            14       approval:

            15                       a. Plaintiffs’ opposition to Defendants’ motion to dismiss would be due on April 23,

            16                           2020, reflecting a one-week extension.

            17                       b. Defendants’ reply would be due May 7, 2020, also reflecting a one-week extension.

            18                       c. The parties propose that the hearing on the motion to dismiss be set for May 27,

            19                           2020, or at such other date thereafter convenient to the Court, as opposed to May

            20                           13, 2020.

            21               4.      There has been one time modification in this matter: Plaintiffs had previously

            22       requested, and the Court granted, that the Court reschedule the Case Management Conference. ECF

            23       Nos. 16, 17. There have been no other modifications to deadlines in this matter.

            24               5.      The requested modification would only modify the date for the hearing on Defendants’

            25       motion to dismiss, which is currently set for May 13, 2020. ECF No. 45. This modification would

            26       not affect any other dates or deadlines pending before this Court, as no case schedule has been set.

            27               6.      The requested modification is necessary because Defendants’ motion to dismiss

            28       requires both parties to brief a variety of complex legal issues, and Plaintiffs need to investigate factual
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              1      allegations Defendants raise in their Motion.

              2             I declare under penalty of perjury that the foregoing is true and correct. Executed on April 9,

              3      2020 in San Francisco, California.

              4                                                      /s/ Kyle C. Wong
                                                                     Kyle C. Wong
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                                                                                             CASE NO. 4:19-CV-07123-PJH
